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Message

From: Kirsten Rasanen J @google.com]

Sent: 2/20/2018 3:10:30 PM

To: playapps (J @ google.com]; play-apps-bd-all (J @coogle.com]; Play Apps Leads Sx
H@ coogle.com]); AME Aa nae google.com; SRRuGu cence ® google.com; Play EMEA Business
Updates IG © coogle.com); atv-leads (@ google.com]; atv-core-bd Ki
Bh @ google.com]

Subject: Activity Report, January 29 - February 16, Play Apps BD

bec play-apps-meeting-notes

Global Apps BD Activity Update

doc version

Weeks of 1/29 - 2/16/18

1.) Highlights
Americas:

. Facebook Messenger Kids launched on Play on Wednesday Feb 14th. FB shared some more insight into the
strategy for the controversial app and is trying to position it as an education/community building tool vs. what Tristan
Harris calls “like Coca-Cola investing in a kids’ soda product” [skaram]

e

° Grindr rolled out Google Play Billing globally after months of A/B testing vs. Stripe. The test resulted in Grindr
seeing a ~20% lift in subscriber conversions utilizing GPB. They believe more available FOPs and reach of GPB is
responsible for the lift. Initial GPB conversations were started with Grindr in Feb 2017 (a full year in the making!). Grindr’s
consumer spend on iOS was $23M in 2017. [bbarras]

e

e Hosted 39 guests, from 24 developers, on the first Subscriptions Workshop in Brazil. Hosted by George Audi,
the event goal was to share with the top developers in Brazil Google Play's support for the subscription business model,
including all the features and tools available, best practices and success stories. [carolsoler, audi]

e Hosted Globo Play new CEO, Joao Mesquita, for the first Business Review of the App. We've presented a
summary of their performance over the last 6 months (since subscription launch) and the co-marketing campagin with
very positive feedback from Globo’s team. Globo’s performance peaked in Dec’17 with over 810K installs, as we ran our
side of Co-Marketing campaign. [carolsoler]

EMEA:

e Spotify Exec Summit in MTV. Presented overall Android story [deck] with key highlights and follow ups on
Android Go, new territory launches and ARCore (agenda | notes) [gregivanov]
e

BBC’s flagship VR experience “Life in VR” launched, exclusive to Daydream [gregivanov].

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° Official Pyeongchang Olympics 2018 collection live across 15 markets. Featuring rights holding broadcasters
such as Eurosport, BBC, NBC, ZDF as well as official Olympics apps. As for Rio 2018, it was a complex process to get
the Olympic Committees requirements and the Play objectives aligned. [schroeer]

e

° Presentation to 9 CEOs from Bertelsmann Group on Play by Ishan, Tamzin & Luca; prior to their trip in April to
MTV for a brainstorming session. Well received and many questions. [tamzintaylor]

APAC:

e Cookpad, Japan's largest recipe sharing service, with 60 million monthly unique users in Japan and 40 million
monthly unique users globally, covered their initial result after implementing GPB.

e Watcha Play subscription retention study meeting: Watcha Play has implemented 100% Google Play billing since
July 2017 and shared its insight on potential reasons why retention might be lagging in GPB vs. Other FOP'’s. Potential
culprits included high involuntary churn in DCB, higher price due to GPB implementation, etc) [jennamok]

ll.) Partner App & New Feature Launches
Americas:

e PicsArt: Launched a new feature this week called Brushes. It allows people to use any sticker as a brush in
PicsArt. [ashrafh]

e Mozilla: Released a new app called “Firefox Rocket Beta - Fast and Lightweight” targeting Indonesia [ashrafh]
EMEA :

e

° Sleep Cycle Alarm Clock will be updated with patented ML sound technology ~ 22nd February. The team will be

supporting this major update with a big PR strategy as well as reactivation of existing premium and free users. [jenif]

° Mail.ru launches another Aliexpress-clone Cheaper together app which enables the users to buy cheap goods
from China. They already own Pandao app with a similar functionality. [akokin]

° Anghami launched gifting feature within the app enabling users to send 6-month or yearly subscriptions to friends
and family in time for Valentine’s. We supported the launch with a banner across MENA and by including them in the
Valentine’s EP in EG and AE [msaadi]

APAC:

° KakaoPage (one of top 3 webtoon platform in KR/JP) released a movie feature in its app. The app has been well
known for its “Pay or Wait or Watch Ads” monetization method in webtoon business, and launched the same for movie
this week. KakaoPage splits a 2 hour movie into 10-20 minutes clip and lets the user decide to either 1) pay and continue
to watch 2) or wait and watch later for free at every 10-20 min mark in the movie. [jennamok, KR]

° AWA, Japan’s Best App winner in 2017, made an Android first update. Its music recognition function now has an
auto-recognition mode. Once you turn it on, the app automatically keeps creating a list of songs it heard. Users don’t have
to turn it every time they would like to check song titles/artist names (deck for screenshots). [Japan]

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e Hanamaru Lab, the developer of Think!Think!, is developing a new math app where users can battle online. The
problems in the app focus on factorization, which is fundamental way of thinking for mathematics. BD will support its
launch globally. [Japan]

lll.) Store & In-App Performance
Americas:

e TurboTax saw a 25% increase in NEAuth’s (new or existing customers authenticating) from HR placement
[brocked]

e File Commander last week reached 100M downloads. [ashrath]
e

e Red Bull TV - 2017 TV app of the year at Play Awards, shared that Android TV installs grew 160% Y/Y and
engagement per user is up. [kfives]
e

° Lionsgate seeing solid growth Pantaya (spanish-language OTT video app) since launch; while installs and subs
remain higher on iOS, engagement is 2x iOS. App coming to ATV in next few months [vikramgoel]
e

° Evernote engagement trends higher on large screen form factors. The average Evernote DAU spends 5.7 mins
in the app on phone vs 16.2 on tablet / Chromebook. Pixeloook engagement is even higher at 19.3 mins / DAU [brooked]
EMEA:

° The Guardian retired their reader app (basically the daily edition in pdf). This is great news as a) it removes
brand confusion between the live app and this; b) like many news pdf readers, it was never maintained, very buggy and a
very poor user experience (yet $$); and c) this creates a fantastic example for the German news publishing industry that is
still wedded to the two formats. [tamzintaylor]

IV.) Subscriptions
Americas:

° Presented LRAP Expansion for Skinny Bundles proposal to Jamie R. and Paul G. who approved the plan.
Working through next steps [vikramgoel, krasanen]
e

° PicsArt rolled-out subscription model as a new monetization model. They are currently testing on 5% of the traffic
in Canada, New Zealand and India. [ashrafh]

° Tuneln live streamed the LIIl Superbowl in app for all listeners. In order to drive more installs and re-engagement,
we featured the promotion in stream on the Play Store. [Kellycox]

Various Subscriptions Platform meetings held with key partners and PMs over the past weeks:

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° Match and Play Commerce product team to dug into feature requests that prevent them from using GPB
[bbarras, daniellestein]

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° Twitch reviewed their subscription rollout plan and we shared how Dynamic SKUs can help them

[daniellestein, kfives]
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oO Hulu came to MTV to discuss how they could use Dynamic SKUs to get onto GPB [audi, daniellestein]

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° Badoo’s co-founder and CEO came to MTV to share feedback and troubleshoot poor results of GPB A/B
experiment [gregivanov, daniellestein]

EMEA:

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e Zattoo very close to agreeing to LRAP terms (they actually had done so to the old contract version already, but

had to resend the updated contract). Its expected to pass in the next week so we can finalize contract, move them to
LRAP conditions and make way for the launch of their new premium tier offering on GPB. [schroeer]
e

e Extended LRAP to Formula 1 - GPB integration in progress, expected launch in March [gregivanov]

e VK (top-performing music subscription in RU) plans to introduce stronger restrictions on background music
listening which will drive subscriptions higher in April-May. [akokin]

e Waplog After last business review in September, Waplog implemented our recommendations to increase grace
period to 7 days and introduce Account Hold. As a result, involuntary churn recovery rate went from 11% in September to
36% in December. Waplog has also integrated Real Time Developer Notifications and are planning on using them to
target promotions to users [msaadi]

° 365scores: Developer live on subscriptions and finishing Android Go improvements [iky]

e OSN have delayed implementation of GPB on their Wavo service due to resource/talent limitations within the org
and among their external vendors. Escalated to their VP and directed them to Google Developer Agency Program
[msaadi]

° Any.Do implemented a number of suggested optimization to their onboarding funnel and reports approx 20%
uplift to revenue on Play [playhub] [iky]
APAC:

° KR dating apps, most lucrative apps next to KakaoTalk in KR, are hesitant to move toward subscription model
due to “exclusive” dating culture in South Korea. Developers say male users do not seek to continue to pay to dating apps
for months since most users expect to delete dating apps once they have found a significant other. What KR team aim to
do: 1) find out success case about dating apps subscription in KR (Tinder KR or Sweetme) 2) Slowly start to test “light
version” of subscription model for dating apps [jennamok, hjhj]

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V.) QBRs and Growth Consulting Initiatives
EMEA:

° Adidas light QBR. They are continuing their efforts to evolve towards a more unified platform, planning to extend
reach of their core Adidas app beyond the US to FR/ES/DE/IT in Feb and NL/CA in March. The Run for the Oceans
movement (where miles logged in Runtastic are converted into donations to help mitigate plastic entering the oceans) will
return in 2018. [jenif]

e Runtastic Running and Results Business Reviews. The team will work on strategies to close the gap in 1
month install retention across both apps, which lags peers. Grace periods are still not live across many of their subs SKUs
due to backend dependencies. Onboarding is also a topic of focus for the Running app, including adding a ‘schedule a
session’ functionality and new training plans for beginners. [jenif]

° Freeletics Bodyweight subs deep-dive and 2017 business review. Follow-up points include ensuring all SKUs
have grace periods active, investigating Account Hold. They also shared the initial impact of testing and iterating on their
Google design sprint prototype (aimed at offering a better experience to free users in week 1 with the ultimate goal of
upsell); positive impact on 1D/7D subs conversion rate as well 1/7D workout completion rate. [jenif]

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° Blinkist Follow-up to our 2017 Design Sprints: Will test 4-6 ideas that were integrated and tested with the Design
Sprint prototype into their beta versions over the next months, all aiming to improve content discovery. Will share results
with us as soon as they're in. [jakobkalbfell]

° Waplog Business Review. Android continues to be dominant platform. While engagement metrics continue to
lag peers, they are working on multiple experiments to increase engagement from UI designs (e.g. redesigning navigation
drawer) to in-app virtual gifts and live streaming features. [msaadi]

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e Sleep As Android QBR highlights opportunities to improve their localized store listings and rating/review
response strategy. Their main focus is redesigning the app to be more intuitive and simple to use (currently tailored more
for die hard quantified-selfers). To further simplify their app, they're considering how the use of Activity Recognition API
might eliminate the need for the user to manually track when they go to bed. [jenif]

APAC:

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° 17Media QBR. They agreed to optimize for subscriptions and expand user acquisition in JP [jenchan].

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° Rakuen QBR: discussion focused on how to collaborate cross apps cross countries and deepen our partnership.

BD will begin design consultation of Rakuten Pay. [Japan]

VI.) Catalog Competitiveness and EAP

° Catalog
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° Spiegel Interesting call with Spiegel eng team and Matt from the Flutter team: Spiegel is considering
moving their next gen apps onto Flutter, to streamline development and improve overall performance. For Play to keep an

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eye on: Currently there is no plug-in for subscriptions (only IAP), this will be developed in the next months though. [Sbenz,
jakobkalbfell]

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° FIFA Kicked of discussion with FIFA around Russia 2018 in June. The objective is to get FIFA apps to
best practice standard as well as having official collections on the store, which is usually a complex process with these
organisations. [schroeer]

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° TED’s India feature in Dec (with Bollywood megastar Shah Rukh Khan was a large success (2x internal
expectations). Further Android depth planned including ATV and assistant [vikramgoel]

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° NBC News is rebuilding their Android app completely to 1) make the home page experience richer with

greater diversity of content and presentation (less lists) and 2) to make video and live streams more front and center with
a clearer UX. Launching late Q1, early Q2. [Imartinez]

° ATV

oO Approached ~50 developers including Sling, Vimeo, Pandora, Disney, ESPN for feedback on a potential
pre-load opportunity on white-labled ATV sold by large US retailer. Some general interest and willingness to pay for pre-
load, mostly from Tier 2 partners with Tier 1 (Netflix, Hulu, Spotify) not expecting to pay for placement [Media BD team]

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° Confirmed assistant launch in GB and FR on Sony and Bouygues (mid Q2). Xfn discussion to agree on
prioritized list of partners to be ingested by the KG team. [areynaud, rvb]
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oO Cross-functional meeting between Netflix and Assistant, Home, Android TV teams to discuss specific
use-cases and align on Netflix treatment [audi]

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oO NBC News is in the design phase for their new NBC News TV app; more details requested. [Imartinez]

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° Sports Illustrated is building a TV app for Android coming in Q1 2018. [Imartinez]

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° Auto

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° VK (#1 social network with messaging and audio) is considering Auto support since the ## of affordable

cars like Kias and Hyundais with its support is growing. [akokin]
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Anghami has gone live with Android Auto support [msaadi]

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cros

oO Kicked off next wave of CrOS outreach with 55 target partners being engaged by end of February.

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° Product demo with Adobe Rush team showcasing early build. Plan is to launch a public beta at Vidcon
(6/20) and release at Adobe MAX (10/15). Goal is to sim-ship across all platforms, but Android development still lags
[brocked]

e VR/AR

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° Continued ARCore momentum -- EAP underway, pushing partners to submit DP2 builds week of 2/12
with 65 alpha apps expected (exceeding goal of 30 apps & games). [vikramgoel, anasato; all]

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° Sling TV exploring personal cinema VR experience leveraging media template [vikramgoel]

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e Instant Apps

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° Had check-in calls with developers building instant apps, including Yummly, Glassdoor, Weather.com,

CBC.ca and Haystack.tv. Overall, partner sentiment is neutral, as per unit metrics in instant apps are better than mobile
web, but traffic remains low and some mobile web metrics continue to outperform instant apps. [prafulla, ashrafh, rvb,
ikarahan, rajrawat]

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° Pitched Disney and Crackle on instant apps. Both are generally interested but still fairly far away from
any development. Crackle is nearer term and thus presents an interesting opportunity with Primetime where Crackle links
in PT could open up an instant app directly (rather than having to install the app if they don’t already have it). [rajrawat,
rvb]

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° Delivery Club (RU's #1 food delivery service) is considering AIA implementation for acquisition
improvements.
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° Yahoo Shopping, third biggest shopping in app in Japan, is considering AIA implementation. [Japan]

° Assistant

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° Deezer finalized Assistant Integration and Android TV support [areynaud]

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oO Together with Knowledge team, had meeting with SmartEducation on AoG. They are considering
leveraging their own IP to develop actions for kids. [Japan]

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° Collecting targets for Actions and Slices EAP with ~50 target partners for I/O. [rajrawat]

VII.) Operational Scale
Events

° In-app Content Discovery Workshop: Finalize agenda and event content incl. 8 partner presentations and best
practices. Attendees incl 19 people from BBC, France TV, Zattoo, ITV, Dazn, TF1, ZDF, MYcanal [areynaud]

° Holding E-commerce day on 6th of March. Speakers are Rakuten, VASILY & AliExpress focusing on
organizational structure and leveraging Al to provide better UX. (briefing doc) [Japan]

° The initial App Dojo in 2017 welcomed two winners from Best of 2017. AWA (Best App) and Japan Taxi (Most
Innovative App) shared their story on how they've built an environment where team members can take actions proactively
for improvement of their services. AWA received the highest satisfaction score ever in App Dojo. (AWA: 4.8, Japan Taxi:
4.3, deck) [Japan]

BD Operations:

° BD Ops mentored 17 start-ups on Play best practices at LaunchPad [JoanneWalsh, luisesilvav]
e

° Initiated phase one of AppFlag pilot for Ecosystem partners - proactively engaging with partners experiencing
growth in past month [JoanneWalsh, SamTolomei]
e

e Suspended Apps & Games: BDOps outreach for apps to be suspended - As part of our ongoing efforts to Save
BDMs times. BDOps is partnering with Policy to ensure we do a BD push when possible suspensions are happening.
Details, process flow [sdrennan, luisesilvav]

° Piloting new workflow between BD Ops & TechOps to streamline external communications for featuring
nominations, reducing external email threads from 3+ to 1 [JoanneWalsh, LisaVu]

° Streamlined Trademarks and DMCA notifications process providing a consult path to both teams globally with
BDOps [cskellogg,anthonynichols, luisesilvav]
e

e BDOps roll out in KR: Ramp up phase finished following agreed guidelines for communications tailored to KR
developers. Overall summary; Update provided to KR BDMs and JP BDMs on next steps for roll out [luisesilvav]

VIIl.) VCs and Startups
General

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e Kicked off Start on Android and VC activities planning in APAC with Nori taking the lead in close coordination
with Gus and Karolis. The program will encompass new app and game developer launches, existing devs’ growth support
and thoughtfully integrate existing, disparate startup initiatives in the region. Some early thinking here. More details on
expanding Start on Android globally here. [hjfujii, gusg, karolis + APAC leads]

° “Top 20 Reasons Startups Fail”
e

e Selected and started interviewing 12 app and game developers who graduated from Early Access and/or
participated in Start on Android program to provide feedback to the product team working on upcoming changes to app
launch release states in the Play Console [karolis, philadams]

° FYI - Sand Hill team is moving to Partnership Solutions group, part of Don Harrison’s organization. Met with Marc
Theermann and Jason Leder to discuss recent changes and ways we can work together moving forward. [gusg, karolis]

° Europe’s VC industry in 13 charts
e

° A peek inside Alphabet’s investing universe
Start on Android

° SOA Southeast Asia program launch announcement generated 240+ startup applications from the region in 24
hours, 33% of them came from Indonesia. [dyin, anujgulati, ceyn, gusg, karolis]

° Product Hunt’s new app “Sip” is now in open beta and live in the Early Access collection (simship). [karolis,
jessiet]

e

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° Stitch Fix and Product Hunt launched their betas in Early Access this week. [karolis, jessiet]

e

° Met with Fair.com, backed by BMW, Upfront, Sherpa, CRV and others with $1.1B in funding, to coordinate their

upcoming launch on Monday (2/12). [gusg, karolis, jessiet]

° Astro Email, an Al-driven email client and Start on Android developer that went through Early Access program,
won Product Hunt’s Golden Kitty award for Mobile App of the Year.

e SOA launch on Product Hunt generated 120 new developer applications, from 54 countries. Largest pools of
applicants came from India (26%) and US (13%). 90% of them Android first or sim-ship. [mfyall, karolis, gusg]

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° Met with Naveen Nigam, head of DevRel Ecosystems for North America, to discuss leveraging GDG and GDE
network to distribute Start on Android program information, developer best practices and application form. [gusg, karolis,
krasanen]

Events

° Attended Xoogler “Running a Fundraising Process by former a16z & Sequoia Partners” event in Palo Alto. [gusg]
e

e Hosted a fireside chat at Startup Grind conference with SOA developer “Socratic”, that was recognized as Best
App of 2017 on Google Play. Attended by ~300 entrepreneurs and startup founders. [karolis, mfyall]

IX.) Product Specialists

° Announcements/Action Required

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° Activity Transition API EAP will go live March 7th and we will be working with a few partners to highlight
their experience. [rajrawatl]
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° Wave 2 outreach for Android Go will start shortly. Currently working through the target list with TechOps,
PM and BD. More details to come by end of next week. [rajrawat]

e Highlights

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oO Live Ops EAP launched with 23 games partners. Accepting developer events that start on/after 2/12.

[noraswithenbank, joeltenwman]
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° Dynamic Apps EAP progress continues with new pitches to Perigree & AirBnB plus onboarding progress
with LinkedIn & Snap. Product satisfied with ~8 current partners; may seek to onboard 1 additional from India
[joeltnewman, rajrawat]

e Commerce

e

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° Collected round of developer feedback on RTDN from developers who implemented the feature in Jan

(doc) [daniellestein]
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° Held feedback sessions with Udemy and Disney to hear about pain points in testing in-app billing (doc)
[daniellestein, johanh]
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° Held feedback session with 8fit to hear about their churn prediction model (doc) [daniellestein, jenif]

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e Play Console

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oO Continued pitches of Dynamic Apps to Starbucks & Snap. Both interested and eager to participate in the

EAP [joeltnewman]

° Product Feature Requests

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oO Enable turnkey subscription price testing within dev console [daniellestein, joeltnewman]

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oO Break down (Organic Acquisitions Insights) search traffic by country [andreaspreuer, joeltnewman]
oO

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oO Add String field to API that appears in financial reports [nadrosauer, daniellestein]

X.) Market Trends and Issues
America:

° Amazon launched their own shipping service for non-Amazon sellers in LA this week. Not at all surprising and has
been in the works for years but likely not a good day for USPS & co. Expect endless memes to follow [skaram]

° Microsoft Teams rolls out a new app store that lets users find the tools they need for use within the Teams
interface [brooked]
e

° Microsoft is dropping Windows 10 S in favor of S Mode. S Mode will be made available for most versions of
Windows 10 across Enterprise, EDU and Home [brooked]
e

° Appeals court rules that Tinder’s pricing violates age discrimination laws [bbarras]

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° Match Group Appoints Ariel Charytan (former Audible SVP) Chief Executive Officer of OkCupid [bbarras]

EMEA:

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° Mycanal: Discussion around Content portability for Media & Entertainment partners following new EU Policies: To

avoid abuses, service providers will verify the subscribers' member state of residence. The verifications will be carried out
in compliance with EU data protection rules. Google is not able to support this verification beyond information given by
Merchant center & payment instrument information [areynaud]

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° MyCanal/Molotov: xfn meeting incl. Product, Tax, finance and BD to decide best approach with reduced VAT in
FR for Media partners such as MyCanal and Molotov. Product confirmed they will not make product changes and Tax is
not ready to manage process. It's now up to business to decide whether they're ready to support that additional costs and
process. Decision to be reviewed by ishan@ next week [areynaud]

e

° G+J (Gruner & Jahr) New strategy across all G+J publications, focus in 2018 on mobile web (rather than apps)

for reach and ad monetization reasons, apps will therefore not be pro-actively developed further and are in maintenance

mode. Background: G+J does not have a strong paid content model and is therefore dependent on ads. This step makes
sense for them as the ads LTV per user is higher on mweb [jakobkalbfell]

° BelN Media Group continue to suffer effects of blockade of Qatar by Saudi Arabia and the UAE. Their apps are
blocked by one of the local telecom operators in the UAE (Du), while in Saudi Arabia credit card payments for their Pay
TV service are being blocked [msaadi]

APAC:

a KT released the second version of its Al speaker, Giga Genie 2. South Korea has now more than 4 smart
speakers as local tech giants continue to invest in Al (KT, SKT, Kako, Naver - commercially available, Bixby speaker to
come in 2018). Google Home launch is expected to be late 2H 2018 but fierce domestic competition is expected
[jennamok, KR]

Kirsten Rasanen | Director, Google Play Partnerships | GN. 2002le.com | a

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